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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


IAN BAUSER, individually and on              Case No: 1:23-cv-01054-ELR
behalf of all others similarly situated,

             Plaintiff,

      vs.

PORSCHE CARS NORTH
AMERICA, INC.,
             Defendant.


                                       ORDER
      Before the Court is the Parties’ Joint Motion for Extension of Time to

Complete Discovery [Doc. 58].              For good cause shown, IT IS HEREBY

ORDERED, ADJUDGED, AND DECREED that the Joint Motion is GRANTED.

The deadlines in the Scheduling Order [Doc. 50] are adjusted as follows:

Event or Filing Due                         Previous Deadline    New Deadline
Fact discovery closes                       January 8, 2025      June 9, 2025

Affirmative expert disclosures and          February 10, 2025    July 10, 2025
any associated written expert reports
Responsive expert disclosures and           March 10, 2025       August 7, 2025
any associated written expert reports
Rebuttal expert disclosures and any         April 3, 2025        September 2, 2025
associated written expert reports
Expert discovery closes                     April 24, 2025       September 23, 2025

Any motions for summary judgment May 7, 2025                     October 6, 2025
and for class certification
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Responses to any motions for             June 5, 2025         November 4, 2025
summary judgment and for class
certification
Any Daubert motions associated with      June 5, 2025         November 4, 2025
motions for summary judgment and
for class certification
Replies in support of any motions for    July 2, 2025         December 2, 2025
summary judgment and for class
certification
Reponses in opposition to any            July 2, 2025         December 2, 2025
Daubert motions
Replies in support of any Daubert        July 16, 2025        December 16, 2025
motions

      SO ORDERED this 19th day of November, 2024.


                                        ______________________________
                                        Hon. Eleanor L. Ross
                                        United States District Court Judge




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